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                                                                                 5:07 pm, Feb 26 2021
                                                                                  AT GREENBELT
EGW: USAO 2021R00146                                                              CLERK, U.S. DISTRICT COURT
                                                                                  DISTRICT OF MARYLAND
                            IN THE UNITED STATES DISTRICT COURT                        TTS
                                                                                  BY ______________Deputy

                               FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
          v.                                      *              21-mj-538-CBD
                                                       CASE NO. _________________
                                                  *
 JEREMIAH PETER WATSON,                           *
                                                  *
                       Defendant                  *
                                                  *
                                               *******
 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

         Your affiant, Investigator William Brancato with the United States Park Police, being duly

sworn, deposes and states as follows:

                                   Introduction and Background

         1.       I have been a duly sworn member of the United States Park Police for more than

17 years. I am currently assigned to the Criminal Investigations, Major Crimes Unit. I have served

in this capacity for more than two years. During this time, I have been involved with the

investigation into more than 25 separate violent crimes, including crimes involving the illegal use

and possession of firearms and ammunition.

         2.       In conducting and participating in investigations of those violent crimes, I have

been involved in the use of various investigative techniques, including but not limited to preparing

and executing search warrants, which have led to seizures of evidence such as narcotics and

firearms; conducting mobile and static surveillances; and interviewing and debriefing suspects,

victims, and witnesses. As a federal agent, I am authorized to investigate violations of laws of the

United States and am a law enforcement officer with the authority to execute warrants issued under

the authority of the United States.
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        3.      The information contained in this affidavit comes from my personal observations,

my training and experience, and from information obtained from other members of the law

enforcement community and witnesses. Because this affidavit is being submitted for the limited

purpose of establishing probable cause to obtain a criminal complaint and arrest warrant, it does

not include each and every fact observed by me or known to the government. I have set forth only

those facts necessary to provide appropriate background and to support a finding of probable cause

for the requested criminal complaint and arrest warrant.

        4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that on or about February 26, 2021,

JEREMIAH PETER WATSON (“WATSON”) violated 18 U.S.C. § 922(g)(1) (felon in

possession of a firearm).

                                Facts Establishing Probable Cause

        5.      On or about Thursday, February 25, 2021, at approximately 8:45 p.m., United

States Park Police Officers were dispatched to the United States Secret Service facility in

Beltsville, Maryland, for the report of a shooting. That facility is located within the National

Agricultural Research Center and is federal property maintained by the United States Department

of Agriculture and within the jurisdiction of the United States Park Police and the special maritime

and territorial jurisdiction of the United States.

        6.      Arriving Officers made contact with Victim 1 (“V-1”), who is employed as a

security officer at that location. V-1 advised that a dark four-door sedan stopped in front of the

gated entrance to the facility. The vehicle was described as having significant damage to the

passenger front and side. V-1 described a black male suspect (“S-1”), approximately 25 to 30

years old, approximately 5 feet 8 inches in height, with his hair styled in dreadlocks. S-1 was




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wearing blue jeans. V-1 was able to overhear that S-1 was having a conversation on speaker phone

and saw that the cellular telephone used by S-1 had a green case. S-1 began to approach V-1

aggressively. Victim 2 (“V-2”), who is also employed as a security officer at that location, arrived

to assist. S-1 continued to approach V-1 despite being given verbal commands to stop. V-1

subsequently deployed his issued Oleoresin Capsicum Spray at S-1.

       7.       After being sprayed, S-1 returned to his vehicle and began to drive from the area.

Victim 3 (“V-3”), a security guard, and Victim 4 (“V-4”), a United States Secret Service Officer,

arrived at this time to assist. V-4 telephoned the United States Park Police Greenbelt Station to

request further assistance. As the suspect vehicle drove from the area, V-1 was able to observe

and report the license plate. The suspect vehicle conducted a U-turn, and S-1 began to fire a

handgun at the victims, who fled into the security guard house, which is equipped with bullet proof

glass. The suspect vehicle completed another U-turn and began to fire at the victims through the

passenger window.

       8.       During a subsequent search of the scene, three .9mm shell casings were recovered

at the scene.

       9.       A computer check of the reported license plate returned to a 2013 Chevrolet Malibu

registered to WATSON, a black male with date of birth in 1998, 5 feet 8 inches in height, with an

address in Hyattsville, Maryland. WATSON was convicted in Howard County Circuit Court for

a robbery offense in 2018, subject to a term of imprisonment of five years, with some time

suspended. He also pleaded guilty to second degree assault in 2019 in the city of Baltimore. For

that offense, he was sentenced to three years’ imprisonment, with some time suspended.

According to a search of Maryland court records, WATSON is still under a period of probation




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for the Baltimore offense.     Accordingly, WATSON is a convicted felon prohibited from

possessing a firearm or ammunition.

       10.      A detective with whom I work used an insurance claim search database, available

to law enforcement, to identify a specific residence in Maryland as being associated with the

involved Chevrolet Malibu. On or about February 26, 2021, at approximately 2:45 a.m., that

detective located the involved Chevrolet Malibu backed into the driveway located at the identified

residence. Later on or about February 26, 2021, I transmitted an image of WATSON to V-2 via

text message.     V-2 responded by confirming that WATSON was the individual he had

encountered, referred to above as S-1.

       11.      On or about February 26, 2021, law enforcement officers executed federal search

warrants at the identified residence and upon the Chevrolet Malibu. From the rear floorboard of

the Chevrolet Malibu, law enforcement recovered a Glock, model 43X, .9mm handgun, bearing

serial number BLCT420, loaded with three .9mm rounds in the magazine and one .9mm round in

the chamber. From the Chevrolet Malibu trunk jamb, law enforcement recovered approximately

three .9mm shell casings. An officer who recovered the three .9mm shell casings recovered in

Beltsville, Maryland, on or about February 25, 2021, viewed the three .9mm shell casings

recovered on or about February 26, 2021, and noted they were similar in appearance. Based on

preliminary phone location information, WATSON was confirmed to be at the residence in the

morning hours of February 26, 2021, and he was present upon law enforcement’s initiation of the

search warrants’ execution. Law enforcement recovered a cell phone in a green case from

WATSON’s vicinity in the residence, and WATSON subsequently provided law enforcement

with the access code for that cell phone.




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        12.    On or about February 26, 2021, I spoke with a United States Park Police

Identification Technician who, based on a description of the firearm, advised that the Glock, model

43X, .9mm handgun, bearing serial number BLCT420, would have been manufactured in Austria,

thus affecting interstate commerce before being recovered in Maryland on or about February 26,

2021.    United States Park Police Identification Technicians receive training on firearms

identification, among other topics.

                                           Conclusion

        13.    Based on the foregoing, I respectfully submit that there is probable cause to believe

that WATSON violated 18 U.S.C. § 922(g) on or about February 26, 2021. I further respectfully

request that the Court issue the requested criminal complaint and arrest warrant for that violation.


                                      ________________________________
                                      Investigator William Brancato
                                      United States Park Police


Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
                                      26th
Fed. R. Crim. P. 4.1 and 4(d) this ______________   day of February, 2021.


_________________________________________
THE HONORABLE CHARLES B. DAY
UNITED STATES MAGISTRATE JUDGE




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